 

Case 3:17-cv-00072-NKM-JCH Document 1377 Filed 10/26/21 Pagelof5 Pageid#: 22686

PARTNERS RESIDENT IN WASHINGTON

PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP

1285 AVENUE OF THE AMERICAS
NEW YORK, NY 10019-6064
TELEPHONE (212) 372-3000

2001 K STREET. NW
WASHINGTON, DC 20006-1047

TELEPHONE (202) 2234-7300

UNIT 5201, FORTUNE FINANCIAL CENTER

3 DONGSANHUAN ZHONGLU

CHAOYANG DISTRICT, BEING 100020, CHINA
TELEPHONE (86-10) 3628-8300

LLOYD K. GARRISON (1946-71991)
RANDOLPH E. PAUL (1946-1936)
SIMON H. RIFKIND (1950-1995)
LOUIS S. WEISS 41927°1956)
JOHN F. WHARTON = (1927-1977)
SUITES 3601 —3606 & 3610
36/F, GLOUCESTER TOWER
THE LANDMARK

13 QUEEN'S ROAD, CENTRAL
HONG KONG

TELEPHONE (452) 2846-0300

CLERK'S OFFICE U.S. DIST. COURT
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JULIA C. BUOLEY, GL!
BY,

WRITER'S DIRECT DIAL NUMBER

ALDER CASTLE
10 NOBLE STREET
LONDON EC2¥ 7JU, UNITED KINGDOM
TELEPHONE 144 20) 7367 1600

 
    
 

WRITER'S DIRECT FACSIMILE

$35 MISSION STREET, 24TH FLOOR
SAN FRANCISCO, C4 p4105
WRITER'S DIRECT E-MAIL ADDRESS TELEPHONE (628) 432-5100
FUKOKU SEIME? BUILDING
2-2 UCHISAIWAICHO 2-CHOME
CHIYODA-KU, TOKYO 106-6011, JAPAN
TELEPHONE (61-3) 3597-8101

TORONTO-DOMINION CENTRE

77 KING STREET WEST, SUITE 3100
PO. BOX 226

TORONTO, ONTARIO MEK 113
TELEPHONE (4161 504-0820

500 DELAWARE AVENUE, SUITE 200
POST OFFICE BOX 32

WILMINGTON, DE 19809-0032
TELEPHONE (302) 655-4416

October 26, 2021
BY HAND

The Honorable Norman K. Moon
United States District Court
Western District of Virginia

255 West Main Street
Charlottesville, VA 22902

qesTin PiIQERSON

WILLIAM A. ISAACSON

MARK F. BENGELSOHN

JANE B. OER

JESSICA E. PHILLIPS
NIE S. RHE!

cea F She RULE

SHANMUGAM
NOUA SRVER MASON WooD

PARTNERS NOT RESIDENT IN WASHINGTON

MATTHEW W. ABBOTT*
EDWARD T. ACKERMAN?
JACOB A. ARLERSTEIN®

SUSANNA M. EVERGEL®
jessie Ss. CA
CAVID ariMonA
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RD. REORN*

 

Rass A. FIELDSTON*
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. FISCH*
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ve
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AD. » GIVERTZ*
SRLVATORE GOGLIORMELLA*
NEIL GOLDMAN®

M EW 8. GOLOSTEIN®
CATHERINE, & coer tha
CHARLES H Jk

NICHOLAS P. GROOMBRIDGES
BRUCE A. GUTENPLAN
MELINDA HAAG

ALAN 5. ae
CLAUDIA HAMMERMAN®

BRIAN Z HERMANN*
JOSHUA HILL JRe
MIGHELE Bins AN.
JARRETT AR. HOFFMAN*
ROBERT HOLO-
DAVID 5S. HUNTINGTON®
AMRAN HUSSEIN"
LORETTA A. IPFOLITO*
JAREN JANGHORA@ANI*
BRIAN M. JANSON®

¢. JOHNSON

BRA 'S. KARP ®

PATRICK & HARSNITZe
‘ KEN

KYLE J. KIMPLER*

ALAN W. KORNBERS

*NOT ADMITTED TO THE DC BAR

BANIEL J. 7 AKRAM ER*

JEAN M
ALVARO. MEMBRILLE
CLAUDINE MERE DITHGOUJON®
WILLIAM 8. MICHAEL?
SHORTELL*
CATHERINE NYARADY*
BRA! ORUN*
LINDSAY B. PARKS*®

WALTER G. RICCIARDI*®
RICHARD A. ROSEN

EW N, ROSENBERG?
USDA ROSENBERG?
JACQUELINE P RUBIN®
RAPHAEL M, Wess.
ELIZABETH M MOACKSTEDER?
JEFFREY D. SArERSTEIN®

x EN NET!
ETH M. SCHNEIDCR®

ROBERT 5. SSHUME

JOHN M. Sc

BRIAN SCRIVANT*

reek SEIFRIED*

 

 

 

 

OTT

TTE TANNENBAUM*

RICHARD C. TARLOWE*®

DAVID TARR®

MONICA K. THURMOND*

DANIEL J. TOAL®
URAC. TU

LA RANG*
CONRAD VAN LoGsEREn Be nG*
RRISHINA | VEERARAGHA

. VE!
lize m VELAZQUEZ®
MICHAEL VOGEL*
YY J, WARBEH*
JOHN Re

WE!
LAWRENCE G. WE!
THEODORE V. WELLS, JR.
LINDSEY L. WIERSMA"
STEVEN J. WILLIAMS:
LAWRENCE I. i. NWITDORCHIC
AUSTIN .

RK B. WLAZ
Roan WOLLSTEIN®
JENNIFER H, Wu?

DETTY ne
2QRDAN E. YARETT*
KAYE N. YOSHING*

ee.

EY A. ZACCONE®
Thuaie M, ZEITZER®
T. ROBERT ZOCHOWSKI, JR.c

Re: Sines et al. v. Kessler et al., No. 3:17-cv-00072 (NKM)

(JCH)
Dear Judge Moon:

Plaintiffs respectfully submit this letter in support of their Batson challenge to
Defendants’ peremptory strike of Prospective Juror 197—a Black man who is otherwise
eligible (and entitled) to serve on the jury in this trial. For the reasons explained below, the
Court should deny Defendants’ racially discriminatory strike and seat Juror 197. Any other

result would be reversible error.

I, Defendants’ Peremptory Strike Was Racially Discriminatory

To begin, Defendants’ peremptory strike was racially discriminatory. Despite
conceding that Juror 197’s answers in voir dire “were too perfect,” the only race-neutral
explanation Defendants could offer, according to Mr. Kolenich, is that “in the opinion of
 

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some of the defendants,” he “had an openly anti-defendant attitude evidence from the looks
on his face.” Tr. 180. Mr. Spencer then stated, “I would like to see case law on what you
just said, but putting aside, the look on someone’s face has no implication in my mind for
what it was. His answers were too perfect. And you can’t just go by the exact words that
someone uses. You have to look beneath them and look at messaging they’re giving and
the general sentiment. And that is what I went by.” Jd Mr. Spencer also said “We don’t
need to express to you our entire thinking. We can make decisions.” Jd.

But “nebulous expressions of discomfort” do not survive a Batson objection.
Coombs v. Diguglielmo, 616 F.3d 255, 264 (3d Cir. 2010) (remanding for Batson hearing
where prosecutor based strike on “the way he was looking at me”). Especially not so when
Defendants have admitted that they are unable to muster any other explanation other than
the bald assertion that their peremptory strike of Juror 197 their peremptory strike of Juror
197 “was not a strictly race-based decision.” Tr. 180 (emphasis).

It is no surprise that, despite have numerous defendants and counsel present, not
one was able to offer a plausible race-neutral explanation. Juror 197 is a model juror:
impartial, open-minded, and fair. During voir dire, he assured the Court that he had no
preconceived notions or opinions about this case. Tr. 135-36. He confirmed that he would
judge the case “fairly and impartially” and “apply the law as instructed the Court.” Tr. 136.
He stated that he had “no bias or prejudice against either the plaintiffs or the defendants in
the case.” Id. He acknowledged that “any group” including white nationalists with “legal
written permission from any state or government body” had the right to “hold public
demonstrations.” /d. And, in response to Defendants’ question whether white people could
be “victims of racism,” he stated that “everyone can be a victim of racism, no matter the
color.” Id, at 137 (emphasis added).

Furthermore, as Plaintiffs have explained, Juror 197’s statements during voir dire
indicate that he would be comparatively more impartial and even-handed than other jurors
who have already been seated. Unlike Jurors 164, 168, and 177 (all of whom expressed
personal views on issues related to this case and were not stricken by Defendants), Juror
197 made clear that he “didn’t have any opinions” on this case “because everyone sees
situations in their own eyes their own way.” Tr. 137. Under governing Supreme Court and
Fourth Circuit law, this comparative analysis is highly probative, and all but dispositive.
See United States v. Barnette, 644 F.3d 192, 205 (4th Cir. 2011) (Supreme Court precedent
requires “a court engage in comparative juror analysis,” and a strong showing of similarity
is sufficient to show pretext).

In support of their position, Defendants offer pretext. Defendants claim (with no
explanation or support) that Juror 197 “had an openly anti-defendant attitude evident from
the looks on his face while he was answering questions.” Tr. 180. Defendants’ assessment
of Juror 197’s “attitude” and “face” is not a legitimate basis to strike him from the jury
because such explanations are a pretext for intentional racial discrimination. Batson v.
Kentucky, 476 U.S. 79, 98 (1986) (“the prosecutor must give a ‘clear and reasonably
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specific’ explanation of his ‘legitimate reasons’ for exercising the challenges.”); Coombs
v. Diguglielmo, 616 F.3d 255, 264 (3d Cir. 2010) (“courts should not ailow nebulous
expressions of discomfort to justify striking a juror” and remanding for Batson hearing
where prosecutor based strike on “the way he was looking at me”); Harris v. Hardy, 680
F.3d 942, 965 (7th Cir. 2012) (“Demeanor-based explanations for a strike are particularly
susceptible to serving as pretexts for discrimination”); see Madison v. Comm’r, Ala. Dep’t
of Corr., 761 F.3d 1240, 1249 (11th Cir. 2014) (remanding for a new Batson hearing where
“prosecutor stated no reasons for his peremptory strike of black jurors”).

II. Plaintiffs Do Not Need Establish a “Pattern” of Discriminatory Strikes Under
Batson

Contrary to Defendants’ assertion, it is not necessary for Plaintiffs to show a pattern
of racially discriminatory strikes to prevail on their Batson challenge. The Fourth Circuit
has held that, under Batson, “a showing of a pattern of racial strikes is not essential.” Ruffin
v. Sielaff, No. 85-7064, 1986 U.S. App. LEXIS 37795, at *3 (4th Cir. Sept. 16, 1986); see
also United States v. Barnette, 644 F.3d 192, 210 (4th Cir. 2011) (a party can raise a Batson
objection because of the “strike of even a single venireperson”). As Batson explained,
requiring “that several must suffer discrimination before one could object would be
inconsistent with the promise of equal protection to all.” 476 U.S. at 95-96; Foster v.
Chatman, 578 U.S. 488, 499 (2016) (“Constitution forbids striking even a single
prospective juror for a discriminatory purpose”).

Virtually every court of appeals to have considered the issue has held that “the
exclusion of a single juror could, in circumstances tending to show racial motivation, be
sufficient.” Cousin v. Bennett, 511 F.3d 334, 339 (2d Cir. 2008); United States v. Mahan,
190 F.3d 416, 424 (6th Cir. 1999) (“there is simply no requirement that [a party] establish
the existence of a pattern of discrimination”); United States v. Vasquez-Lopez, 22 F.3d 900,
902 (9th Cir. 1994) (same); Holloway v. Horn, 355 F.3d 707, 728 (3d Cir. 2004) (a “Batson
objection need not always be based on a ‘pattern’ of strikes”); United States v. Chalan, 812
F.2d 1302, 1314 (10th Cir. 1987).

Ill. Seating Additional Black Jurors Cannot Remedy A Batson Violation

Under governing Fourth Circuit and Supreme Court precedent, the fact that
additional Black jurors may sit on the panel does not cure the constitutional violation of
intentional discrimination. As the Fourth Circuit has held, “striking only one black
prospective juror for a discriminatory reason violates ... equal protection rights, even
when other black jurors are seated and even when valid reasons are articulated for
challenges to other black prospective jurors.” United States v. Lane, 866 F.2d 103, 105 (4th
Cir. 1989). The reason for this is simple: “[D]enying a person participation in jury service
on account of his race unconstitutionally discriminates against the excluded juror.”
Georgia v. McCollum, 505 U.S. 42, 48-49 (1992), Batson acts as a safeguard for individual
jurors’ constitutional rights—and here, it protects Juror 197’s individual constitutional
 

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right to not be “excluded from making a significant contribution to governance on account
of his race.” Johnson vy. California, 545 U.S. 162, 171-72 (2005).

Applying these bedrock principles, courts have repeatedly recognized that the
“Constitution forbids striking even a single prospective juror for a discriminatory purpose.”
Foster v. Chatman, 578 U.S. 488, 499 (2016). As the Third Circuit explained:

Nor is it relevant that the prosecutor appears to have offered race-neutral
explanations for all but one peremptory challenge. “[A] prosecutor’s purposeful
discrimination in excluding even a single juror on account of race cannot be
tolerated as consistent with the guarantee of equal protection under the law.”
Holloway, 355 F.3d at 720 (citing Harrison v. Ryan, 909 F.2d 84, 88 (3d
Cir.1990)). Although we are not suggesting that the district court should only
consider the prosecutor's strike of Juror No. 1 on remand, we do note that if Juror
No. 1, and only Juror No. 1, was struck because of his race, then
the Batson challenge should have been sustained.

Coombs v. Diguglielmo, 616 F.3d 255, 264-65 (3d Cir. 2010). Likewise here. Defendants
racially discriminatory strike cannot be cured by the fact that other Black jurors have been
seated.

Consistent with this, the Fourth Circuit has held that “Batson objections [must] be
raised and ruled on as early as possible.” Morning v. Zapata Protein (USA), Inc., 128 F.3d
213, 215-16 (4th Cir. 1997) (citation omitted) (emphasis added); United States v. Joe, 928
F.2d 99, 102-03 (4th Cir. 1991) (“We caution that the favored method for a district court
to use in evaluating a Batson challenge is initially to determine whether the defendant has
shown a prima facie violation when the issue is first raised.” (emphasis added)). Nor is
there any good reason to wait. As just explained, the final composition of the jury cannot
cure Defendants’ race-based strike of Juror 197.

** *

For all of these reasons, the Court should deny Defendants’ peremptory strike and
seat Juror 197.

Very truly yours,

dif,
Karen ‘ Dunn
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PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP

Of Counsel:

Roberta A. Kaplan (pro hac vice)
Michael L. Bloch (pro hac vice)
Raymond P. Tolentino (pro hac vice)
Yotam Barkai (pro hac vice)
Alexandra K. Conlon (pro hac vice)
Jonathan Kay (pro hac vice)
KAPLAN HECKER & FINK LLP
350 Fifth Avenue, Suite 7110

New York, NY 10118

Telephone: (212) 763-0883
rkaplan@kaplanhecker.com
mbloch@kaplanhecker.com
rtolentino@kaplanhecker.com
ybarkai@kaplanhecker.com
aconlon@kaplanhecker.com
jkay@kaplanhecker.com

Robert T. Cahill (VSB 38562)
COOLEY LLP

11951 Freedom Drive, 14th Floor
Reston, VA 20190-5656
Telephone: (703) 456-8000

Fax: (703) 456-8100
rcahill@cooley.com

David E. Mills (pro hac vice)
Joshua M. Siegel (VSB 73416)
COOLEY LLP

1299 Pennsylvania Avenue, NW
Suite 700

Washington, DC 20004
Telephone: (202) 842-7800

Fax: (202) 842-7899
dmills@cooley.com
jsiegel@cooley.com

Karen L. Dunn (pro hac vice)
Jessica Phillips (pro hac vice)
William A. Isaacson (pro hac vice)
Giovanni Sanchez (pro hac vice)
PAUL, WEISS, RIFKIND, WHARTON
& GARRISON LLP

2001 K Street, NW

Washington, DC 20006-1047
Telephone: (202) 223-7300

Fax: (202) 223-7420
kdunn@paulweiss.com
jphillips@paulweiss.com
wisaacson@paulweiss.com
gsanchez@paulweiss.com

Alan Levine (pro hac vice)
COOLEY LLP

55 Hudson Yards

New York, NY 10001
Telephone: (212) 479-6260
Fax: (212) 479-6275
alevine@cooley.com

J. Benjamin Rottenborn (VSB 84796)
WOODS ROGERS PLC

10 South Jefferson St., Suite 1400
Roanoke, VA 24011

Telephone: (540) 983-7600

Fax: (540) 983-7711
brottenborn@woodsrogers.com

Counsel for Plaintiffs
